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ADMITTED IN NEW YOR.K. VIRGINIA
AND THE DISTRICT OF COLUMBIA
OF COUNSEL

By ECF

The Honorable Arthur D. Spatt
United States District Judge
Eastem District of New York
100 Federal Plaza

Central Islip, New York 11722

Re.' Um'ted States v. Adam Manson
Criminal Docket Number 13-453 (ADS)(AKY)

Dear Judge Spatt:

On behalf of Adam Manson and the government in the above-referenced case, we
jointly request that sentencing be rescheduled for May 18, 2018, at 1:30 p.m., a date and time on
which the parties and Probation Officer Lisa Langone are available, and which Ms. Kirchner has
advised is available.

The parties are working dilligently to see if we can resolve disputed issues without
a Fatico hearing and without any motion practice To that end, we had a substantial meeting
yesterday with AUSA Boeckmann, but need more time to work through the issues. Speaking for
myself, I also seek a rescheduling of sentencing because Mr. Manson and his wife had their
second son earlier this week, and the Mansons are and will be preoccupied with settling in with
their new addition.

We appreciate the Court’s consideration
Respectfully submitted,

/s/
Andrew J. Frisch

ccc AUSA Chris Caffarone
USPO Lisa Langone

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